Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 1 of 17 PageID #: 4890




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION

    UNITED STATES OF AMERICA                     §
                                                 §
    v.                                           §            No. 5:19-CR-25
                                                 §            JUDGE RWS/CMC
    STEVEN DONOFRIO (05)                         §

                       UNITED STATES’ OPPOSITION TO DEFENDANT
                STEVEN DONOFRIO’S MOTION FOR JUDGMENT OF ACQUITTAL

          The United States of America, by and through the undersigned Assistant United States

   Attorney for the Eastern District of Texas, files this response in opposition to Defendant Steven

   Donofrio’s Motion for Judgment of Acquittal (“Motion”). ECF No. 633. The United States’ trial

   evidence was sufficient to overcome a Rule 29 motion, and a rational jury could have found the

   essential elements of Donofrio’s Conspiracy to Commit Illegal Remunerations alleged offense.

   Thus, his Motion should be denied.

                                          INTRODUCTION

          During a weeks-long trial, the United States presented evidence establishing that

   Donofrio knowingly and willfully entered into and participated in a conspiracy to pay and

   receive illegal remunerations. As will be discussed in detail below, the United States presented

   forensic, documentary, and testimonial evidence establishing Donofrio’s guilt.

          Following the United States’ case-in-chief, Donofrio moved for a Judgment of Acquittal

   under Federal Rule of Criminal Procedure 29, and, after argument, the Court denied the motion.

   On December 16, 2021, after the jury returned a partial verdict regarding the remaining

   defendants, Donofrio orally moved for a motion for reconsideration of his motion for

   reconsideration, and the Court denied the motion. Later that day, after the jury indicated that it



   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 1
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 2 of 17 PageID #: 4891




   could not agree on a unanimous verdict regarding Donofrio, Donofrio moved for a mistrial. The

   Court granted the motion and declared a mistrial.

                                             ARGUMENT

          The evidence presented at trial is more than sufficient for a rational trier of fact to find

   Donofrio guilty of Conspiracy to Commit Illegal Remunerations. As demonstrated below, a jury

   could have rationally concluded that Donofrio agreed to commit the crime of illegal

   remunerations; Donofrio knew the unlawful purpose of the agreement and joined in it willfully;

   and that at least one of the conspirators during the existence of the conspiracy knowingly

   committed at least one overt act to accomplish some object or purpose of the conspiracy. The

   jury carefully considered the evidence presented over weeks of trial, deliberated for days, made

   credibility choices, and resolved competing interpretations of evidence. Although the jury could

   not reach a unanimous verdict, it is clear that members of the jury interpreted the evidence and

   were convinced that Donofrio was guilty beyond a reasonable doubt.

          A. Standard of Review

          The legal standard applicable to a Rule 29 motion for judgment of acquittal has been

   described as the “rational jury standard.” United States v. Thomas, 12 F.3d 1350, 1373 (5th Cir.

   1994). When evaluating a Rule 29 motion, “the ‘relevant question is whether, after viewing the

   evidence in the light most favorable to the prosecution, any rational trier of fact could have found

   the essential elements of the crime beyond a reasonable doubt.’” United States v. Valle, 538 F.3d

   341, 344 (5th Cir. 2008) (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)). A defendant

   bears a heavy burden in meeting this high standard. United States v. Achobe, 560 F.3d 259, 263

   (5th Cir. 2008) (“The standard for a sufficiency claim is high.”). The court must give “the

   government the benefit of all reasonable inferences and credibility choices.” United States v.


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 2
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 3 of 17 PageID #: 4892




   Carter, 953 F.2d 1449, 1456 (5th Cir. 1992). Thus, a court cannot grant a judgment of acquittal

   unless it concludes, after viewing the evidence through the lens of this deferential standard, that a

   rational jury would necessarily have had to entertain a reasonable doubt as to the defendant’s

   guilt. See United States v. Burns, 597 F.2d 939, 941 (5th Cir. 1979).

            Of course, the court considers all relevant evidence, direct or circumstantial. See United

   States v. Loe, 262 F.3d 427, 432 (5th Cir. 2001). “The standard does not require that the

   evidence exclude every reasonable hypothesis of innocence or be wholly inconsistent with every

   conclusion except that of guilt, provided a reasonable trier of fact could find that the evidence

   establishes guilt beyond a reasonable doubt.” Id. (internal citation omitted). “A jury is free to

   choose among reasonable constructions of the evidence ... and it retains the sole authority to

   weigh any conflicting evidence and to evaluate the credibility of the witnesses.” Id. Indeed, in

   evaluating a motion for judgment of acquittal, “[i]t is not for the court ... to weigh evidence or

   assess the credibility of witnesses.” Deville, 278 F.3d at 506 (internal citation omitted).

            B. Conspiracy to Commit Illegal Remunerations

            Count One of the First Superseding Indictment charged Donofrio with Conspiracy to

   Commit Illegal Remunerations, in violation of 18 U.S.C. § 371. To convict Donofrio of this

   offense, the United States had to prove each of the following elements beyond a reasonable

   doubt:

                   First:         That the defendant and at least one other person
                                  agreed to commit the crime of illegal remunerations,
                                  as charged in the First Superseding Indictment;
                   Second:        That the defendant knew the unlawful purpose of the
                                  agreement and joined in it willfully, that is, with the
                                  intent to further the unlawful purpose; and
                   Third:         That at least one of the conspirators during the
                                  existence of the conspiracy knowingly committed at
                                  least one of the overt acts described in the indictment,
   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 3
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 4 of 17 PageID #: 4893




                                  in order to accomplish some object or purpose of the
                                  conspiracy.

   See Pattern Jury Instruction, Criminal Cases, U.S. Fifth Circuit, District Judge Association, No.

   2.15A (2019). The overt act need not be of a criminal nature so long as it is done in furtherance

   of the conspiracy. Id. One may become a member of a conspiracy without knowing all the

   details of the unlawful scheme or the identities of all the other alleged conspirators. Id. If a

   defendant understands the unlawful nature of a plan or scheme and knowingly and intentionally

   joins in that plan or scheme on one occasion, that is sufficient to convict him for conspiracy even

   though the defendant had not participated before and even though the defendant played only a

   minor part. Id. The government does not need to prove that the alleged conspirators entered into

   any formal agreement, or that they directly stated between themselves all the details of the

   scheme. Id. Likewise, the government does not need to prove that all of the details of the

   scheme alleged in the indictment were actually agreed upon or carried out. Id. Nor must it prove

   that all of the persons alleged to have been members of the conspiracy were such, or that the

   alleged conspirators actually succeeded in accomplishing their unlawful objectives. Id.

          C. Illegal Remunerations

          Title 42 United States Code, Sections 1320a-7b(b)(1)(A) and 1320a-7b(b)(1)(B), make it

   a crime for anyone to knowingly and willfully solicit or receive kickbacks, bribes, or illegal

   remuneration in return for a referral for services or in return for arranging for the furnishing or

   recommending the ordering of items or services under a Federal health care program. The

   elements of 42 U.S.C. §§ 1320a-7b(b)(1)(A) and 1320a-7b(b)(1)(B) are as follows:

                  First:          That the defendant solicited or received
                                  remuneration, including any kickback, bribe, or
                                  rebate;



   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 4
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 5 of 17 PageID #: 4894




                  Second:        That the remuneration was solicited or received in
                                 return for referring an individual to Vantari for the
                                 furnishing or arranging for the furnishing of any item
                                 or service, or for arranging for or recommending the
                                 ordering of an item or service;

                  Third:         That the item or service was one for which payment
                                 was or might be made, in whole or in part, under a
                                 Federal health care program; and

                  Fourth:        That the defendant acted knowingly and willfully
                                 when soliciting or receiving the remuneration.

   See Pattern Jury Instruction, Criminal Cases, U.S. Fifth Circuit, District Judge Association, No.

   2.109A (2019); see also 42 U.S.C. § 1320a-7b(b)(1)(B).

          Title 42 United States Code, Sections 1320a-7b(b)(2)(A) and 1320a-7b(b)(2)(B), make it

   a crime for anyone to knowingly and willfully pay or offer to pay kickbacks, bribes, or illegal

   remuneration to induce another person to make a referral for services or to induce another person

   to arrange for or recommend the ordering of items or services under a Federal health care

   program. The elements of 42 U.S.C. §§ 1320a-7b(b)(2)(A) and 1320a-7b(b)(2)(B) are as

   follows:

                  First:         That the defendant paid or offered to pay any
                                 remuneration, including any kickback, bribe, or
                                 rebate;

                  Second:        That the defendant did so to induce another person to
                                 refer an individual to Vantari for the furnishing or
                                 arranging for the furnishing of any item or service, or
                                 to arrange for or recommend the ordering of items or
                                 services;

                  Third:         That the item or service was one for which payment
                                 was or might be made, in whole or in part, under a
                                 Federal health care program; and

                  Fourth:        That the defendant acted knowingly and willfully
                                 when paying or offering to pay the remuneration.


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 5
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 6 of 17 PageID #: 4895




   See Pattern Jury Instruction, Criminal Cases, U.S. Fifth Circuit, District Judge Association, No.

   2.109B (2019); see also 42 U.S.C. § 1320a-7b(b)(2)(B).

          Remuneration may be solicited or received directly or indirectly, overtly or covertly—

   that is, secretly. Id. Remuneration may be in cash or in kind. Id. In order to meet its burden,

   the government does not need to prove that the defendant’s only purpose or his primary purpose

   was to solicit or receive remuneration in return for a referral or in return for arranging for the

   furnishing or recommending the ordering of an item or service. Id. The government only needs

   to show that the solicitation was made or remuneration was received in part for that purpose. Id.

          The Anti-Kickback Statute applies to any individual, and there is no requirement that a

   payment be received by a “relevant decisionmaker” or that a payment be made to corruptly

   influence a health care provider—all that is required is that there be intent to induce referrals, or

   to arrange for or recommend the ordering of Medicare business. See United States v. Shoemaker,

   746 F.3d 614, 629 (5th Cir. 2014). As the Fifth Circuit has clarified, the focus is “on intent not

   titles or formal authority,” and the Anti-Kickback Statute broadens liability to “reach operatives

   who leverage fluid, informal power and influence.” Id.

          D. Trial Evidence

          Evidence must be viewed in the light most favorable to the government, and all

   credibility choices, evidentiary conflicts, and reasonable inferences must be resolved in favor of

   the prosecution. If the government’s view of the evidence fits anywhere within the wide realm

   of rationality, it must be accepted. See United States v. Hernandez-Palacios, 838 F.2d 1346,

   1348 (5th Cir. 1988) (court must “give the government the benefit of all reasonable inferences

   and credibility choices”). As set out in the following paragraphs, there is substantial direct and

   circumstantial evidence in the record supporting the possible jury conclusion that Donofrio


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 6
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 7 of 17 PageID #: 4896




   knowingly and willfully conspired to commit illegal remunerations. Considering the totality of

   the government’s evidence, the Court should deny Donofrio’s Motion.

          1. Donofrio Agreed to Commit Crime of Illegal Remunerations

          The jury could infer from the evidence presented that Donofrio agreed with Nicholas

   Arroyo, Sean Parrish, Vantari, Codon, KNM Global, and others to unlawfully enrich themselves

   by paying and receiving kickbacks in exchange for the referral of and arranging for, and ordering

   and recommending the ordering, of Medicare business, to conceal the kickback arrangement, and

   to use the kickbacks and the proceeds of the kickback arrangement for their personal benefit.

          The United States provided evidence in the form of incorporation documents reflecting

   Donofrio’s role in Genematrix, LLC (“Genematrix”), GX3, 6–7; contracts between Genematrix

   and Vantari, GX16–18; a contract between Genematrix and Codon DX Services, LP (“Codon”),

   DX16; and Vantari commission statements reflecting the health care business procured by

   Genematrix and the corresponding Vantari payments to Genematrix, GX126A–M; and Vantari

   Medicare claims data for the period of 2014 to 2016, GX103A–C. Together, this evidence

   consists of both direct and circumstantial evidence of Donofrio’s illicit arrangement. The jury

   also considered the testimony of Nicholas Arroyo, Sean Parrish, and Philip Lamb, each of whom

   testified that Donofrio agreed to receive kickbacks in exchange for the referral of and arranging

   for, and ordering and recommending the ordering, of Medicare business. Nicholas Arroyo and

   Sean Parrish further testified that Donofrio paid them kickbacks, through Codon, in exchange for

   arranging for the ordering of Medicare business. This testimony was corroborated by Special

   Agent Jason Rennie’s (“SA Rennie”) testimony regarding his analysis of the financial

   transactions involving Genematrix. SA Rennie also sponsored bank records and summary

   exhibits reflecting the transactions between the parties. GX50–51. 53–54, 56, 74.


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 7
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 8 of 17 PageID #: 4897




          2. Donofrio Knew of the Unlawful Purpose of the Agreement and Joined in it Willfully

          The jury could determine that Donofrio knew the unlawful purpose of the agreement and

   joined in it willfully with the intent to further the unlawful purpose. “Knowingly” means that the

   act was done voluntarily and intentionally, not because of mistake or accident. Pattern Jury

   Instruction, Criminal Cases, U.S. Fifth Circuit, District Judge Association, Nos. 1.41 (2019).

   Willfulness in the Anti-Kickback Statute context means that the act was committed voluntarily

   and purposely with the specific intent to do something the law forbids; that is to say, with bad

   purpose either to disobey or disregard the law. United States v. Ricard, 922 F.3d 639, 647–48

   (5th Cir. 2019). Under this definition of willfulness, knowledge that the conduct is unlawful is

   all that the government is required to prove. See Ricard, 922 F.3d at 647–48; Bryan v. United

   States, 524 U.S. 184, 196 (1998); United States v. St. Junius, 739 F.3d 193, 210 (5th Cir. 2013);

   see also Pattern Jury Instruction, Criminal Cases, U.S. Fifth Circuit, District Judge Association,

   No. 1.43 (2019). A person need not have actual knowledge of the Anti-Kickback Statute or

   specific intent to commit a violation of the statute. Id.

          The United States provided evidence that Donofrio knew he was receiving payment of a

   percentage of sales commissions for Vantari referrals. The United States provided contracts

   signed by Donofrio, personally, as well as by Genematrix, GX16–18; as well as e-mail

   communications Donofrio authored or received detailing the payments for Medicare business,

   GX302–306, 507. Arroyo, Sean Parrish, Raj Desai, JJ Rudy, and Aman Rangan all testified that

   Donofrio was aware that Vantari was paying him, through Genematrix, for arranging for

   Medicare business.

          The United States also provided evidence that Donofrio received notice that payment of a

   percentage of sales commissions to contract sales personnel implicated the Anti-Kickback


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 8
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 9 of 17 PageID #: 4898




   Statute and was unlawful. GX29A–I. Arroyo and Lamb each testified that they communicated

   to Donofrio their understanding that paying a percentage of sales commissions for Medicare

   business would violate the Anti-Kickback Statute. Specifically, Lamb testified that he personally

   met with Donofrio and was very clear in communicating to him that Vantari’s regulatory counsel

   had advised Vantari that it needed to adopt a different compensation model in order to comply

   with the law. These communications were corroborated by contemporaneous e-mail

   communications; such as GX205A-C, 255, 259, 260, reflecting Arroyo informing Donofrio

   about why Vantari was changing its compensation model, Donofrio agreeing to attend a meeting

   on the subject, and the meeting being held.

          Moreover, the jury was free to infer from Donofrio’s suspicious conduct,

   misrepresentations, and concealment that he knew his conduct was unlawful. See United States

   v. Ricard, 922 F.3d 639, 648 (5th Cir. 2019). The United States provided evidence that

   Genematrix engaged in a contractual arrangement with Vantari under which Genematrix could

   be surreptitiously paid by Vantari for the furnishing or arranging for the furnishing of, or for

   arranging for or recommending the ordering of, Medicare business. The United States provided

   many examples of misrepresentations of the parties’ actual agreement, including the contracts

   themselves. GX18, the activity-based compensation contract between Vantari and Genematrix,

   includes numerous misrepresentations regarding the activity-based compensation. Id. The

   contract states that Genematrix would be paid for active contractor representatives that

   performed sales and marketing activities for Vantari, that the compensation was determined in

   arm’s length-bargaining and consistent with fair market value, that the compensation was not

   determined in a manner that takes into account volume or value of Medicare referrals, and that

   Genematrix and its employees or subcontractors would not receive compensation for any


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 9
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 10 of 17 PageID #: 4899




   services reimbursed by Medicare. Id. Sean Parrish, Arroyo, Rudy, Desai, and Rangan all

   testified that Donofrio was aware that despite the misrepresentations in the contract, Vantari was

   paying Genematrix for Medicare business. This was corroborated by GX306, 316, 343–345,

   which consist of e-mail communications and spreadsheets regarding Genematrix’s commissions

   and purported activity. The United States also provided evidence of a sham $75,000 bonus

   payment, GX507.

          Further, the United States provided significant evidence that Donofrio played an integral

   role in concealing the illegal kickbacks as compensation for active representatives. The United

   States showed that Donofrio requested information and was kept apprised of the Medicare

   revenue Vantari was crediting to Genematrix, GX302–04, 306, 332; used that information to

   calculate and confirm how many active representatives would be needed to match the

   compensation owed under both compensation models, GX304–305, 332, 335, 339–41, 506; and

   submitted the corresponding fictitious documentation that Vantari and Genematrix could use to

   conceal their unlawful conduct, GX329–330, 333.

          Together, the evidence and testimony allowed the jury to infer rationally that Donofrio

   knowingly and willfully participated in an arrangement to disregard the law and continue to be

   paid for the furnishing or arranging for the furnishing of, or for arranging for or recommending

   the ordering of, Medicare business. The evidence showed that despite the misrepresentations to

   the contrary, Donofrio was aware of what Genematrix was owed under the previous

   compensation model he knew to be unlawful, and he cooperated with Vantari by providing

   inaccurate and falsified information to support and conceal the parties’ illegal conduct.

          Additionally, the United States provided evidence and elicited testimony regarding

   Donofrio’s knowledge and willfulness pertaining to arrangements with Codon. Arroyo and


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 10
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 11 of 17 PageID #: 4900




   Parrish testified that Codon was a vehicle used to embezzle income and divert business away

   from Vantari’s other partners, Lamb and Shaun Opie. There was also testimony from Arroyo

   and Brian Parrish and other evidence that Donofrio received kickbacks from Arroyo and Parrish,

   through Codon, for Vantari lab samples that were diverted to another lab after having requisition

   forms altered. GX314–15, 322, 324–26, 328, 334, 336, 338, 409.

          3. Donofrio and Other Conspirators Committed Numerous Overt Acts

          Donofrio and his co-conspirators committed numerous overt acts in furtherance of the

   conspiracy to commit illegal remunerations. As previously discussed, an overt act need not be of

   a criminal nature so long as it is done in furtherance of the conspiracy.

          The evidence showed that Donofrio himself committed numerous overt acts in

   furtherance of the conspiracy. Donofrio personally executed contracts, GX16, and utilized some

   of those contracts to conceal Vantari and Genematrix conduct, GX17–18. Donofrio created and

   submitted falsified, inconsistent activity reports, GX329–30, 333. Donofrio, through

   Genematrix, arranged for the furnishing and recommended the ordering of items or services paid

   for by Medicare. GX126A–M (Vantari commission statements reflecting the health care

   business procured by Genematrix and the corresponding Vantari payments to Genematrix);

   GX103A–C (Vantari Medicare claims data for the period of 2014 to 2016).

          There was also overwhelming evidence for the jury to consider regarding overt acts

   undertaken by Arroyo, Parrish, and Vantari in furtherance of the conspiracy. Arroyo and Parrish

   admitted in their testimony to paying Donofrio in exchange for the referral of and arranging for,

   and ordering and recommending the ordering, of Medicare business. Specifically, Arroyo and

   Parrish testified that they paid Donofrio because of his and his agents’ ability to leverage their

   informal access, power, and influence over referring providers. Arroyo and Parrish testified that


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 11
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 12 of 17 PageID #: 4901




   they concealed the true nature of the arrangement through the activity-based compensation

   model and through sham bonus payments, and they did so knowingly and willfully. These

   payments and Medicare claims discussed above corroborate this testimony and conclusively

   prove that the overt acts occurred.

          Furthermore, the United States provided evidence, as well as testimony from Arroyo,

   Parrish, and Virginia Blake Herrin regarding overt acts that were committed in the Eastern

   District of Texas. This evidence includes contracts executed between Vantari and UMT and

   VBH, entities operated by Tim Armstrong and Virginia Blake Herrin. GX19–22. Armstrong

   and Blake Herrin are residents of Collin County, within the Eastern District of Texas. In her

   testimony, Blake Herrin admitted to falsifying activity reports and testified regarding UMT’s

   practice of providing kickbacks to health care providers in exchange for Vantari referrals. The

   United States also provided evidence of payments made by Vantari to VBH in furtherance of the

   conspiracy within the Eastern District of Texas. GX83. There was substantial evidence in the

   record proving that overt acts were committed in furtherance of the conspiracy to commit illegal

   remunerations.

          E. Donofrio Requests that the Court Interpret Evidence in Donofrio’s Favor

          Donofrio misapplies the Rule 29 standard and improperly asks the Court to consider his

   interpretation of the evidence and testimony. Specifically, Donofrio renews his flawed argument

   regarding supposed reliance on advice of counsel and treats his tenuous argument as if it were

   established.

          Donofrio did not show that he relied on Clay Patterson’s legal advice. He cannot do so.

   To establish a reliance on advice of counsel defense, Donofrio must prove that




   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 12
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 13 of 17 PageID #: 4902




                  (1) before taking action, he in good faith sought the advice of an
                  attorney whom he considered competent to advise him on the
                  matter; and
                  (2) he consulted this attorney for the purpose of securing advice on
                  the lawfulness of his possible future conduct; and
                  (3) he made a full and accurate report to his attorney of all material
                  facts that he knew; and
                  (4) he then acted strictly in accordance with the advice of this
                  attorney.

   See Pattern Jury Instruction, Criminal Cases, U.S. Seventh Circuit, District Judge Association,

   No. 6.12 (2018). Donofrio did not prove that he sought Clay Patterson’s advice, that he

   consulted Patterson for the purpose of securing advice on the lawfulness of possible future

   conduct, that he made a full and accurate report to Patterson of all material facts, or that he acted

   in strict accordance with Patterson’s advice.

          Donofrio cannot even establish that Clay Patterson represented him or provided him with

   legal advice in his individual capacity. See United States v. Graf, 610 F.3d 1148, 1159–60 (9th

   Cir. 2010) (applying Bevill joint representation factors). In fact, Donofrio testified that he was

   aware that Clay Patterson had made representations to this Court that Donofrio never sought

   legal advice from him in his individual capacity. Affidavit of Clay Patterson, Exhibit 1, ECF No.

   485.

          Moreover, the United States provided evidence that Clay Patterson was not providing

   legal advice but instead was providing business advice. In fact, at times Patterson worked with

   Donofrio to further the conspiracy. For example, in GX356, Clay Patterson advised Donofrio

   that the Vantari agreement based on percentage of commissions failed to include “necessary

   compliance language for AKS/Stark,” and contained “multiple provisions that are in direct

   contradiction of Medicare Regulations.” Patterson wrote, “strictly from a legal prospective [sic],

   I strongly recommend against signing the Agreement for the reasons set forth above. However,


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 13
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 14 of 17 PageID #: 4903




   from a business prospective [sic], I understand the need to enter into the Agreement . . . .”

   GX356. In GX357, Donofrio wrote that he agreed with everything Patterson stated, but that

   “[t]he problem is we [Genematrix] are a ship without a port right now.” Donofrio subsequently

   communicated to Arroyo that he “made it clear to [Patterson] to stress business over legal.”

   GX352. In addition, the United States provided evidence that under Donofrio’s direction,

   Patterson negotiated the contract between Vantari and Genematrix, including the provisions

   regarding activity-based compensation and prohibitions on compensation for Medicare business,

   GX353; but nevertheless, Patterson and Donofrio both worked to circumvent the contract

   through fictitious activity-based compensation, GX354. Taken together, the jury was free to

   infer that Donofrio neither sought Patterson’s advice in good faith nor follow Patterson’s legal

   advice. The jury was also free to infer that Patterson was an interested party who often provided

   business advice rather than legal advice. Instead, the jury could reasonably conclude that

   Donofrio did not seek advice in good faith from a disinterested, competent attorney and was

   ultimately unconcerned with receiving valid legal advice or complying with the law.

          F. Single Conspiracy

          Donofrio uses another pleading to recycle his multiple conspiracy argument. The United

   States has addressed this issue in prior pleadings, and rests on the argument made in its Response

   in Opposition to Defendant Philip Lamb’s Motion to Dismiss. See ECF No. 326. Namely, in the

   duplicity context, the “principal considerations in counting the number of conspiracies are (1) the

   existence of a common goal; (2) the nature of the scheme; and (3) the overlapping of the

   participants in the various dealings.” Barrera, 444 F. App’x at 24 (quotation omitted). Likewise,

   in the duplicity context as in the joinder context, a conspiracy count need not charge a defendant

   “with active participation in each phase of the conspiracy,” and it need not allege that he “knew


   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 14
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 15 of 17 PageID #: 4904




   all the participants or details of the conspiracy,” “as long as it alleges knowledge of the

   conspiracy’s essential nature.” United States v. Acosta, 763 F.2d 671, 696 (5th Cir. 1985)

   (quotation omitted). Here, the United States argued and Arroyo testified that Vantari and its

   distributors and their principals, including Donofrio, shared the common goal of unlawfully

   enriching themselves through a kickback arrangement, each conspirator depended on and

   benefited from the others’ activities in keeping Vantari solvent and economically viable, the

   conspirators respected existing distributor/doctor relationships, and the conspirators overlapped,

   sharing common techniques and benefitting from them, including maintaining records regarding

   distributor-by-distributor records of referrals. And again, as described above, the United States

   provided significant evidence regarding acts in furtherance of this conspiracy occurring within the

   Eastern District of Texas.

                                           CONCLUSION

          For the foregoing reasons, the Court should deny Defendant Steven Donofrio’s Motion

   for Judgment of Acquittal.

                                                Respectfully submitted,

                                                BRIT FEATHERSTON
                                                UNITED STATES ATTORNEY

                                                  /s/ Adrian Garcia
                                                ADRIAN GARCIA
                                                Assistant United States Attorney
                                                Texas State Bar No. 24084522
                                                101 East Park Blvd., Suite 500
                                                Plano, Texas 75074
                                                (972) 509-1201
                                                Adrian.Garcia@usdoj.gov

                                                NATHANIEL C. KUMMERFELD
                                                Assistant United States Attorney
                                                Texas State Bar No. 24060122
                                                110 N. College, Ste. 700
   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 15
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 16 of 17 PageID #: 4905




                                               Tyler, TX 75702
                                               (903) 590-1400
                                               (903) 590-1439 (fax)
                                               Nathaniel.Kummerfeld@usdoj.gov

                                               LUCAS MACHICEK
                                               Assistant United States Attorney
                                               Texas Bar No. 24064230
                                               110 N. College, Suite 700
                                               Tyler, TX 75702
                                               (903) 590-1400
                                               (903) 590-1439 (fax)
                                               Lucas.Machicek@usdoj.gov




   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 16
Case 5:19-cr-00025-RWS-CMC Document 637 Filed 02/04/22 Page 17 of 17 PageID #: 4906




                                    CERTIFICATE OF SERVICE

          This is to certify that on February 4, 2021, this document was filed with the Clerk using

   the CM/ECF filing system, which will cause a copy of the document to be delivered to all counsel

   of record via electronic mail.

                                                /s/ Adrian Garcia
                                               ADRIAN GARCIA




   United States’ Opposition to Defendant Steven Donofrio’s
   Motion for Judgment of Acquittal – Page 17
